Case:20-14853-JGR Doc#:42 Filed:08/16/20                  Entered:08/16/20 16:11:48 Page1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

IN RE:                                                )
                                                      )              1:20-BK-14853
HAPPY BEAVERS, LLC                                    )
EIN:XX-XXXXXXX                                        )              Chapter 11
                                                      )
Debtor.                                               )

 APPLICATION FOR ORDER AUTHORIZING THE EMPLOYMENT OF COUNSEL
            FOR THE DEBTOR AND DEBTOR-IN-POSSESSION

         Gunsmoke, LLC, debtor and Debtor-in-Possession (the “Debtor”), submits this
application (the “Application”) pursuant to section 327(a) of title 11 of the United States Code (the
“Bankruptcy Code”) and Federal Rule of Bankruptcy Procedure (the “Bankruptcy Rules”) 2014(a)
for an order authorizing the Debtor to employ and retain the firm of Jorgensen, Brownell & Pepin,
P.C. (“Firm”) as attorneys in this chapter 11 case. In support of this Application, the Debtor
respectfully represents to this Honorable Court as follows:

         1.    On July 17, 2020 this case was commenced by the filing of a voluntary petition for
relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
District of Colorado (the “Bankruptcy Court”).

        2.    The Debtor intends to continue in the possession of his property as Debtor-in-
Possession pursuant to § 1107 and § 1108 of the Bankruptcy Code.

          3.   The Debtor is a resident of Larimer County.

         4.     The Debtor desires to retain and employ Jorgensen, Brownell & Pepin, P.C.
pursuant to section 327(a) of the Bankruptcy Code and Bankruptcy Rule 2014(a) to perform all
legal services in these proceedings as more fully set forth below.

         5.    In order to enable the Debtor to perform his duties as Debtor-in-Possession and to
effect the proper and expeditious administration of this case, Jorgensen, Brownell & Pepin, P.C.
will be required to render legal services to the Debtor in connection with this proceeding,
including, but not limited to, the following:

          a)   Assisting and advising the Debtor relative to the administration of this proceeding;

          b)   Representing the Debtor before the Bankruptcy Court and advising the Debtor on
               all pending litigations, hearings, motions, and of the decisions of the Bankruptcy
               Court;
Case:20-14853-JGR Doc#:42 Filed:08/16/20                Entered:08/16/20 16:11:48 Page2 of 3




        c)     Reviewing and analyzing all applications, orders, and motions filed with the
               Bankruptcy Court by third parties in this proceeding and advising the Debtor
               thereon;

        d)     Attending all meetings conducted pursuant to section 341(a) of the Bankruptcy
               Code and representing the Debtor at all examinations;

        e)     Communicating with creditors and all other parties in interest;

        f)     Assisting the Debtor in preparing all necessary applications, motions, orders,
               supporting positions taken by the Debtor, and preparing witnesses and reviewing
               documents in this regard;

        g)     Conferring with all other professionals, including any accountants and consultants
               retained by the Debtor and by any other party in interest;

        h)     Assisting the Debtor in its negotiations with creditors or third parties concerning
               the terms of any proposed plan of reorganization;

        i)     Preparing, drafting and prosecuting the plan of reorganization and disclosure
               statement; and

        j)     Assisting the Debtor in performing such other services as may be in the interest of
               the Debtor and the Estate and performing all other legal services required by the
               Debtor.

        6.     The Debtor believes that Jorgensen, Brownell & Pepin, P.C. is well-qualified to be
counsel to the Debtor, having ample experience in bankruptcy and insolvency matters.

         7.      As set forth in the Affidavit of Gerald L. Jorgsenen (the “Affidavit”), attached and
incorporated herein as Exhibit #1, Jorgensen, Brownell & Pepin, P.C. represents no interest
adverse to the estate regarding the matters upon which it is to be engaged, and is “disinterested”
as such term is defined in section 101(14) of the Bankruptcy Code, as modified by section 1107(b).
Jorgensen, Brownell & Pepin, P.C. will not, while retained by the Debtor, represent any other party
in interest in connection with this case.

         8.    The members and associates of Jorgensen, Brownell & Pepin, P.C. do not have any
connection with the Debtor (other than as Debtor’s attorneys), the Debtor’s affiliates, partners,
creditors, stockholders, any other party in interest, the United States trustee, or any person
employed in the office of the United States trustee.

        9.     The employment of Jorgensen, Brownell & Pepin, P.C. is in the best interests of
the Debtor, the creditors and the estate.

        10. Jorgensen, Brownell & Pepin, P.C. will charge fees and expenses incurred in
representing the Debtor in these proceedings based on the normal rates charged by the attorneys
Case:20-14853-JGR Doc#:42 Filed:08/16/20                Entered:08/16/20 16:11:48 Page3 of 3




and paralegals of Jorgensen, Brownell & Pepin, P.C. for similar clients, currently $400.00/hr. for
Gerald Jorgensen. Such rates are subject to periodic review and change, usually on an annual basis.
Jorgensen, Brownell & Pepin, P.C. will seek compensation for services rendered and expenses
incurred upon appropriate application to the court pursuant to §330 and §331 of the Bankruptcy
Code and Bankruptcy Rules.

       WHEREFORE, the Debtor requests authorization to retain and employ the law firm of
Jorgensen, Brownell & Pepin, P.C. as counsel to assist in the performance of his functions and
otherwise with respect to this case pursuant to § 327(a) of the Bankruptcy Code and Bankruptcy
Rule 2014(a), and for such other relief as the Court deems just and proper.

July 20, 2020

                                                         Respectfully submitted,


                                                         By: /s/ Gerald L. Jorgensen
                                                         Gerald L. Jorgensen #18855
                                                         Jorgensen, Brownell & Pepin P.C.
                                                         5285 McWhinney Blvd., Suite 100
                                                         Loveland, CO 80538
                                                         Phone : (970) 304-0075
                                                         Fax : (970) 351-8421
                                                         Email : gerald@jbplegal.com


                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2020, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system and/or via e-mail to the following address:

Alison Goldenberg
Alison.Goldenberg@usdoj.gov
U.S. Trustee

Michael Payne
Mpayne@cp2law.com
Counsel for Great Western Bank

Roger E. Clark
Rclarklaw@yahoo.com
Counsel for Edward and Stephen Klen
